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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK

NEW YORK STATE FIREARMS ASSOCIATION,

et al.,                                                        Civil Action No. 23-CV-6524-FPG

                        Plaintiffs,                            [PROPOSED]
v.                                                             ORDER GRANTING PLAINTIFFS’
                                                               MOTION TO EXPEDITE
STEVEN A. NIGRELLI, in his official capacity as
Acting Superintendent of the New York State Police,

                  Defendant.
___________________________________________/

          Upon the motion to expedite by plaintiffs New York State Firearms Association, George

Borrello, David DiPietro, William Ortman, and Aaron Dorr pursuant to Local Civil Rule 7.1(d),

and the motion having been filed and served on or by                           , 2023, by the method

of service directed by the Court, it is hereby ORDERED that:

          1.     Defendant’s papers opposing Plaintiffs’ motion for temporary restraining order be

filed and served by electronic filing to the CM/ECF system by 5 p.m. on or

by                        , 2023;

          2.     Plaintiffs’ reply papers in further support of their motion for temporary restraining

order be filed and served by electronic filing to the CM/ECF system by 5 p.m. on or

by                         , 2023;

          3.     If the Court deems oral argument necessary or desirable, it will advise the parties

of an appropriate date on or before                           , 2023 for such argument.


Dated:



                                                       HON. FRANK P. GERACI, JR.
                                                       United States District Judge
